      Case 7:23-cr-00017-WLS-TQL Document 28 Filed 04/07/23 Page 1 of 2



                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF GEORGIA
                             VALDOSTA DIVISION

UNITED STATES OF AMERICA,                   :
                                            :
v.                                          :
                                            :       Case No.: 7:23-CR-17 (WLS-TQL)
                                            :
CHRISTOPHER E. BARNES,                      :
                                            :
                                            :
       Defendant.                           :
                                            :
                                           ORDER
       Presently before the Court is Defendant, Christopher E. Barnes’, Unopposed Motion

for a Continuance, which was filed on April 4, 2023. (Doc. 27.) Therein, Defendant Barnes

moves to continue this Court’s specially set May 8, 2023, Valdosta Trial Term, and

corresponding April 11, 2023, Pretrial Conference, to the next regularly scheduled term of

Court in the Valdosta Division. (Id.) The reason that a continuance is requested is that Defense

Counsel requires additional time to conduct an investigation, research, and discuss the

Government’s case in chief with Defendant. (Id.)

       Based on the Parties’ stated reasons, the Court finds that the ends of justice served by

granting such a continuance outweigh the best interests of the public and the Defendant in a

speedy trial. 18 U.S.C. § 3161(h)(7)(A)-(B). Therefore, the motion to continue (Doc. 27) is

GRANTED. The Court hereby ORDERS that the trial in the above-referenced matter be

CONTINUED to the Valdosta Division August 2023 term and its conclusion, or as may

otherwise be ordered by the Court. Furthermore, it is ORDERED that the time lost under

the Speedy Trial Act, 18 U.S.C. § 3161, be EXCLUDED pursuant to 18 U.S.C. § 3161(h)(7)



                                                1
      Case 7:23-cr-00017-WLS-TQL Document 28 Filed 04/07/23 Page 2 of 2



because the Court has continued the trial in this case and finds that the failure to grant a

continuance would likely result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(B)(i).

       The April 11, 2023 pretrial conference is CANCELLED.




       SO ORDERED, this 7th day of April 2023.

                                            /s/ W. Louis Sands
                                            W. LOUIS SANDS, SR. JUDGE
                                            UNITED STATES DISTRICT COURT




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